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                                 123235




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC, IVC FILTERS
  MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                                                  MDL No. 2570


  This Document Relates to Plaintiff(s)
  Kendra Shemona Stone, as Conservator of the estate
  and person of Anthony Dewayne Stone

  Civil Case # 1:20-cv-02474-RLY-TAB



                              FIRST AMENDED SHORT FORM
                                      COMPLAINT


         COMES NOW the Plaintiff(s) named below, and for Complaint against the

  Defendants named below, incorporate The Master Complaint in MDL No. 2570 by reference

  (Document 213). Plaintiff(s) further show the court as follows:

         1.    Plaintiff/Deceased Party:
               Anthony Dewayne Stone

         2.    Spousal Plaintiff/Deceased Party’s spouse or other party making loss of

               consortium claim:

               N/A_________________________

         3.    Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
               Kendra Shemona Stone, conservator

         4.    Plaintiff’s/Deceased Party’s state of residence at the time of implant:
               Tennessee

         5.    Plaintiff’s/Deceased Party’s state of residence at the time of injury:
               Tennessee
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        6.    Plaintiff’s/Deceased Party’s current state of residence:
              Tennessee

        7.    District Court and Division in which venue would be proper absent direct filing:

              Western District of Tennessee (Western Division)

        8.    Defendants (Check Defendants against whom Complaint is made):


                         Cook Incorporated

                         Cook Medical LLC

                         William Cook Europe APS

        9.    Basis of Jurisdiction:

                         Diversity of Citizenship

                      □          Other:

              a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
              Paragraphs 6-28



              b. Other allegations of jurisdiction and venue:




        10.   Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a

              claim (Check applicable Inferior Vena Cava Filters):

                          Günther Tulip® Vena Cava Filter

                              Cook Celect® Vena Cava Filter

                      □          Gunther Tulip Mreve

                      □          Cook Celect Platinum

                      □          Other:
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        11. Date of Implantation as to each product:
            On or about January 29, 2019


        12.   Hospital(s) where Plaintiff was implanted (including City and State):
              Regional One Health, Memphis, TN


        13.   Implanting Physician(s):
              Dr. Denny Schoch




        14.   Counts in the Master Complaint brought by Plaintiff(s):

                    Count I:       Strict Products Liability – Failure to Warn

                    Count II:      Strict Products Liability – Design Defect

                    Count III:     Negligence

                    Count IV:      Negligence Per Se

                    Count V:       Breach of Express Warranty

                    Count VI:      Breach of Implied Warranty

                    Count VII:     Violations of Applicable North Carolina Law Prohibiting

                     Consumer Fraud and Unfair and Deceptive Trade Practices

              Count VIII:       Loss of Consortium

              □     Count IX:      Wrongful Death

              □      Count X:       Survival

                    Count XI:      Punitive Damages

              □       Other:        ___________________ (please state the facts supporting

                      this Count in the space, immediately below)

              □       Other:        ___________________ (please state the facts supporting
                      this Count in the space, immediately below)
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        15. Attorney for Plaintiff(s):
            Jon C. Conlin and J. Curt Tanner

        16. Address and bar information for Attorney for Plaintiff(s):

             Jon C. Conlin (ASB-7024-J66C) / J. Curt Tanner (ASB-1041-T80W)
             2131 Magnolia Avenue
             Birmingham, Alabama 35205


      Dated: 8/31/2021                    Respectfully submitted,



                                           /s/ Jon C. Conlin
                                           Jon C. Conlin
                                           J. Curt Tanner
                                           CORY WATSON, P.C.
                                           2131 Magnolia Avenue
                                           Birmingham, Alabama 35205
                                           Phone: 205-328-2200
                                           Fax: 205-326-7896

                                           Attorneys for Plaintiff
